           CASE 0:21-cr-00108-PAM-TNL Doc. 131 Filed 11/29/21 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


    United States of America,                                 Case No. 21-cr-108 (PAM/TNL)

                  Plaintiff,

    v.                                                    ORDER DENYING JOINT MOTION

    Derek Michael Chauvin (1),
    Tou Thao (2),
    J. Alexander Kueng (3), and
    Thomas Kiernan Lane (4),

                  Defendants.


         This matter comes before the Court on the parties’ Joint Motion for Expert

Disclosure and Notice of Intent to Seek an Expert Scheduling Order. (ECF No. 91.) This

motion was filed along with numerous others to be considered at the pre-trial motions

hearing.

         A hearing was held via Zoom videoconferencing technology on September 14,

2021. 1 (ECF No. 115.) Assistant United States Attorneys Manda Sertich and Samantha

Trepel appeared on behalf of the United States of America (the “Government”). Attorney

Eric J. Nelson appeared on behalf of Defendant Derek Michael Chauvin. Attorneys Robert

M. Paule and Natalie R. Paule appeared on behalf of Defendant Tou Thao. Attorney

Thomas C. Plunkett appeared on behalf of Defendant J. Alexander Kueng. Attorney Earl




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  Defendants previously consented to the motions hearing being conducted by videoconferencing. (ECF No. 45
(Lane); ECF No. 47 (Thao); ECF Nos. 49, 54, 61 (Kueng); ECF No. 86 (Chauvin).) Defendants also consented to
the proceedings being held by way of videoconferencing on the record during the hearing.

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          CASE 0:21-cr-00108-PAM-TNL Doc. 131 Filed 11/29/21 Page 2 of 3




P. Gray appeared on behalf of Defendant Thomas Kiernan Lane.

         The parties request the Court order the disclosure of any expert testimony pursuant

to Rules 16(a)(1)(G) and 16(b)(1)(C) of the Federal Rules of Criminal Procedure and Rules

702, 703, and 705 of the Federal Rules of Evidence, and set an expert witness scheduling

order. Prior to the hearing, the parties reached an agreement regarding dates for expert

witness disclosures and related deadlines. (Tr. 16:24-17:12.) 2

         In the context of this case, scheduling of expert witnesses is more properly

addressed by the trial court in conjunction with the setting of the trial date and addressing

trial related issues. Since a trial date has not yet been announced, the parties’ motion should

be denied without prejudice.

         Therefore, based upon the foregoing, and all the files, records, and proceedings

herein, IT IS HEREBY ORDERED THAT:

    1. The parties’ Joint Motion for Expert Disclosures and Notice of Intent to Seek Expert

         Scheduling Order (ECF No. 91) is DENIED WITHOUT PREJUDICE.

    2. The parties shall contact the chambers of District Judge Paul A. Magnuson within 7

         days of this Order for further guidance on all trial-related deadlines.

    3. All prior consistent orders remain in full force and effect.

    4. Failure to comply with any provision of this Order or any other prior consistent

         order shall subject the non-complying party, non-complying counsel and/or the

         party such counsel represents to any and all appropriate remedies, sanctions and the


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 The Court notes that, although the transcript has been temporarily sealed to allow for the process of redacting any
personal identifiers, see generally D. Minn. LR 5.5, any notice of intent to request redaction was due September 23,
2021, and no such notice was filed. (ECF No. 118.)

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      CASE 0:21-cr-00108-PAM-TNL Doc. 131 Filed 11/29/21 Page 3 of 3




     like.



Date: November 29 , 2021                       s/Tony N. Leung
                                        Tony N. Leung
                                        United States Magistrate Judge
                                        District of Minnesota


                                        United States v. Chauvin, et al.
                                        Case No. 21-cr-108 (PAM/TNL)




                                    3
